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 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9

10
      TERRI R. SWANSON,                            Case No. 3:19-cv-00123
11
                        Plaintiff,                 COMPLAINT FOR DAMAGES
12
             v.                                    1. VIOLATION OF THE FAIR DEBT
13                                                 COLLECTION PRACTICES ACT, 15 U.S.C.
                                                   §1692 ET SEQ.
14    COLLECTION SERVICE OF NEVADA,
                                                   DEMAND FOR JURY TRIAL
15                      Defendant.
16

17
                                              COMPLAINT
18

19          NOW comes TERRI R. SWANSON (“Plaintiff”), by and through her attorneys, LAW

20   OFFICES OF NICHOLAS M. WAJDA, ESQ. (“Wajda”), complaining as to the conduct of

21   COLLECTION SERVICE OF NEVADA (“Defendant”) as follows:
22                                       NATURE OF THE ACTION
23      1. Plaintiff brings this action against Defendant pursuant to the Fair Debt Collection Practices
24
     Act (“FDCPA”) under 15 U.S.C. §1692 et seq., for Defendant’s unlawful conduct.
25
                                        JURISDICTION AND VENUE
26
27

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                                                      1
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 1         2. This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction
 2   is conferred upon this Court by 15 U.S.C. §1692, 28 U.S.C. §§1331 and 1337, as the action arises
 3
     under the laws of the United States.
 4
           3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 5
     in the District of Nevada, and a substantial portion of the events or omissions giving rise to the
 6

 7   claims occurred within the District of Nevada.

 8                                                   PARTIES

 9         4. Plaintiff is 44 year-old consumer residing in Sparks, Nevada, which lies within the District
10
     of Nevada.
11
           5. Plaintiff is a natural “person” as defined by 47 U.S.C. §153(39).
12
           6. Defendant is a debt collector holding itself out as “one of Nevada’s largest collection
13
     agencies” that purportedly has “one of the highest recovery rates in the state.” 1 Defendant is a
14

15   corporation organized under the laws of the state of Nevada with its principal place of business

16   located at 777 Forest Street, Reno, Nevada.
17         7. Defendant is a “person” as defined by 47 U.S.C. §153(39).
18
           8. Defendant acted through its agents, employees, officers, members, directors, heirs,
19
     successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all times
20
     relevant to the instant action.
21

22                                           FACTUAL ALLEGATIONS

23         9.    The instant action arises out of Defendant’s attempts to collect upon outstanding consumer

24   debt (“subject debt”) said to be owed by Plaintiff.
25         10. The subject debt arose in connection with Plaintiff’s purported default on obligations
26
     incurred in connection with receiving payday loans from Paycheck Advance.
27

28   1
         https://www.csn-reno.net/
                                                          2
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 1      11. Defendant acquired the rights to collect upon the subject debt after Plaintiff’s purported
 2   default.
 3
        12. On or about November 19, 2018, Plaintiff received a collection letter from Defendant
 4
     attempting to collect upon the subject debt. See Exhibit A.
 5
        13. The collection letter identifies the original creditor as “Paycheck Advance – Ironhorse.”
 6

 7      14. The collection letter was sent in reference to the “CSN Acct ***328.”

 8      15. The top portion of the letter represents that the principal amount of the subject debt is

 9   $401.80.
10
        16. The letter further represents that the subject debt has “Interest” and “Other Charges” each
11
     totaling $0.00, for a total “Balance” of $401.80.
12
        17. However, in the middle of the collection letter, there are two entries.
13
        18. One entry lists “Paycheck Advance – Ironhorse” followed by representations that the
14

15   subject debt has a principal amount of $401.80, $0.00 in interest and “other” charges, for a total

16   balance of $401.80.
17      19. The other entry lists “Paycheck Advance – Ironhorse” followed by representations that the
18
     subject debt has a principal amount of $376.80, $0.00 in interest and “other” charges, for a total
19
     balance of $376.80.
20
        20. Because the collection letter initially suggests it is being sent to collect $401.80, yet
21

22   subsequently cuts against this representation in the body of the letter, the collection letter is

23   inherently deceptive and confusing. The letter creates a probability of confusion as to, inter alia,

24   how much Plaintiff is said to owe on her account(s), the number and nature of the underlying
25   account(s) upon which Defendant is attempting to collect, the nature of Plaintiff’s obligations to
26
     Paycheck Advance, as well as which underlying debts would be satisfied in the event Plaintiff made
27
     payment to Defendant in connection with the collection letter received.
28
                                                         3
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 1      21. The collection letter contains a further representation that ‘If FINANCE CHARGES
 2   (INTEREST) are shown above, this account will accrue FINANCE CHARGES at an ANNUAL
 3
     PERCENTAGE RATE of ___% from the date the unpaid principal amount was assigned to
 4
     Collection Service of Nevada by our client.”
 5
        22. Given that the letter includes several references to interest charges and a dollar figure,
 6

 7   Defendant’s collection letter suggested that interest and other charges could accrue on the subject

 8   debt, even though Defendant did not intend to, nor legally could, add such amounts.

 9      23. Plaintiff was misleadingly led to believe that Defendant had the lawful ability and intent
10
     to collect costs and other fees, when such right was waived, when no such right existed in the
11
     underlying contract, and/or Defendant never intended to collect interest or other charges.
12
        24. Confused and concerned by the nature of Defendant’s collection letter, Plaintiff spoke with
13
     Wajda regarding the correspondence resulting in pecuniary loss and expenditure of resources.
14

15      25. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

16   limited to, invasion of privacy, confusion, violation of federally protected interests, and
17   aggravation.
18
                COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
19
        26. Plaintiff repeats and realleges paragraphs 1 through 25 as though fully set forth herein.
20
        27. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.
21

22      28. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

23   uses the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

24      29. Defendant identifies itself as a debt collector and is engaged in the business of collecting or
25   attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed or
26
     due to others.
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                                                       4
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 1      30. The subject consumer debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a
 2   transaction due or asserted to be due to another for personal, family, or household purposes.
 3
             a. Violations of 15 U.S.C § 1692e
 4
        31. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any false,
 5
      deceptive, or misleading representation or means in connection with the collection of any debt.”
 6

 7      32. In addition, this section enumerates specific violations, such as:

 8              “The false representation of – the character, amount, or legal status of any debt . .
                . .” 15 U.S.C. § 1692e(2).
 9
                “The threat to take any action that cannot legally be taken or that is not intended
10              to be taken.” 15 U.S.C. § 1692e(5).

11              “The use of any false representation or deceptive means to collect or attempt to
                collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
12              §1692e(10).
13      33. Defendant violated 15 U.S.C. §§ 1692e, e(2), e(5), and e(10) by falsely, deceptively, and
14
     misleadingly representing in its collection letters that it had the ability and intent to add costs and
15
     other fees to the subject debt. Defendant’s collection letter repeatedly outlines the interest and other
16
     charges that may be tacked on to the subject debt. Even though the value of these additional charges
17

18   were “$0.00,” Defendant’s inclusion of these references with a dollar figure (rather than saying

19   “N/A” or simply not listing the interest and other charges) falsely, deceptively, and misleadingly

20   implies the extent to which Defendant may properly add interest and other charges/intended to add
21
     such interest and other charges. Had Defendant intended to add interest, it would have certainly
22
     included the APR of such interest in its collection letter. However, by including the itemizations
23
     with a dollar figure, in combination with the suggestion that if finance charges are outlined in the
24
     letter then finance charges will accrue, Defendant intended to instill a deceptive and false sense of
25

26   urgency in Plaintiff. To an unsophisticated consumer, these references would result in thinking

27   there is a heightened urgency to address the subject debt given the potential for interest and other
28
                                                           5
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 1   charges to accrue, even where no such interest or other charges could be properly added and when
 2   Defendant did not intend to add such charges. The potential imposition of such fees would naturally
 3
     be a factor in Plaintiff’s decision-making process in determining whether and when to address any
 4
     purported obligation; and, the inclusion of these references would leave unsophisticated consumers
 5
     guessing about the economic consequences of failing to pay immediately.
 6

 7      34. Defendant further violated § 1692e, e(2)(A), and e(10) when it misleadingly and

 8   confusingly characterized the number of debts and amount owed in the collection letter sent to

 9   Plaintiff. The collection letter initially references a single account with a principal balance of
10
     $401.80; however, it later cuts against this assertion. As such, the collection letter is inherently
11
     deceptive and misleading in the manner in which it outlines the extent of Plaintiff’s purported
12
     liability on the debt(s) upon which Defendant was seeking collection.
13
             b. Violations of FDCPA § 1692f
14

15      35. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair or

16   unconscionable means to collect or attempt to collect any debt.”
17      36. Defendant violated §1692f when it unfairly suggested that it could collect additional
18
     amounts above and beyond the total balance due as represented in its collection letter. Because
19
     Defendant was precluded and did not intend to add anything to the balance of the subject consumer
20
     debt, the above referenced portions of the collection letter violates the FDCPA.
21

22      WHEREFORE, Plaintiff, TERRI R. SWANSON, respectfully requests that this Honorable

23   Court enter judgment in her favor as follows:

24      a. Declaring that the practices complained of herein are unlawful and violate the
           aforementioned bodies of law;
25

26      b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
           §1692k(a)(2)(A);
27
        c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
28         under 15 U.S.C. §1692k(a)(1);
                                                    6
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 1
       d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
 2        §1692k(a)(3); and
 3
       e. Awarding any other relief as this Honorable Court deems just and appropriate.
 4

 5
       Dated: February 28, 2019                Respectfully submitted,
 6
                                               By: /s/ Nicholas M. Wajda
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